    6:19-cv-03547-DCC               Date Filed 12/20/19    Entry Number 1       Page 1 of 7




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION

                                               )
LIMA ONE CAPITAL, LLC, d/b/a                   )
INVESTOR LENDING USA,                          )
                                               )       Civil Action No. 6:19-cv-3547-BHH
                       Plaintiff,              )
                                               )
               v.                              )
                                               )
DAC ACQUISITIONS, LLC, d/b/a                   )       Jury Trial Demanded
REVOLVER FINANCE,                              )
                                               )
                       Defendant.              )
                                               )

                                            COMPLAINT

       This is an action for breach of contract under South Carolina law.

                                              PARTIES

       1.      Plaintiff Lima One Capital, LLC, d/b/a Investor Lending USA (“Lima One”) is a

company incorporated under the laws of the State of Georgia, with its principal place of business

at 201 East McBee Avenue, Suite 300, Greenville, South Carolina, in Greenville County.

       2.      Lima One is a fully capitalized lender that provides proprietary loan products,

expertise, and technology to real estate investors.

       3.      Defendant DAC Acquisitions, LLC, d/b/a Revolver Finance (“Defendant”) is a

company incorporated under the laws of the State of Texas, with its principal place of business at

1601 Elm Street, 32nd Floor, Dallas, Texas, in Dallas County.

       4.      Defendant makes business-purpose mortgage loans secured by first liens on the

related mortgaged properties.




                                                   1
     6:19-cv-03547-DCC          Date Filed 12/20/19        Entry Number 1        Page 2 of 7




                                 JURISDICTION AND VENUE

         5.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because the

matter in controversy exceeds $75,000, exclusive of interests and costs, and the parties are

citizens of different states.

         6.     The Court also has jurisdiction over this action and venue is proper pursuant to 28

U.S.C. § 1391 in Greenville, South Carolina pursuant to the valid and enforceable forum

selection clause contained in Section 10.03 of the Master Loan Flow Agreement (the

“Agreement”) between the parties.

                                   FACTUAL ALLEGATION

         7.     On May 5, 2017, Lima One and Defendant entered into the Agreement in which

Lima One would provide financing to Defendant for certain Loans Defendant made pursuant to

the terms of the Agreement.

         8.     As part of the Agreement, Defendant made a variety of representations and

warranties regarding its performance under the Agreement, including specific representations

and warranties about the loans flowing from Defendant to Lima One pursuant to the Agreement.

         9.     In Section 4.07 of the Agreement, Defendant made several representations,

including that no fraud had occurred on the part of Defendant “or the Mortgager, any appraiser,

any title company, any closing or settlement agent, any realtor, any builder or any developer, any

correspondent, any mortgage broker, or any other party involved in the solicitation, origination

or servicing of the Closed Loan or in the application for any insurance in relation to such Closed

Loan.”

         10.    Section 4.07 of the Agreement also incorporates certain Loan Representation

made in “Exhibit B” to the Agreement. Exhibit B states that: “With respect to each Closed



                                                 2
    6:19-cv-03547-DCC            Date Filed 12/20/19        Entry Number 1         Page 3 of 7




Loan, Originator [Defendant] represents and warrants to Lender [Lima One] that each of the

statements set forth in this Exhibit B is true and correct as of the date of closing of such Closed

Loan.”

         11.   Paragraph O of Exhibit B contains the following representation: “No fraud, error,

omission, misrepresentation, negligence, or similar occurrence with respect to the Closed Loan

has taken place on the part of Originator or, to the knowledge of Originator, any other Person

involved in the origination of the Closed Loan or in the application for any insurance in relation

to such Closed Loan, including the Mortgagor, any appraiser, any builder or developer. To the

knowledge of Originator, the documents, instruments and agreements submitted for loan

underwriting were not falsified and contain no untrue statement of material fact or omission of a

material fact required to be stated therein or necessary to make the information and statements

therein not misleading, Originator has reviewed all of the documents relating the Closed Loan

and has made such inquiries as it deems necessary to make and confirm the accuracy of the

representations set forth herein.”

         12.   Furthermore, Section 4.07 requires the Defendant to promptly provide notice to

Lima One if Defendant obtains knowledge that any of the Loan Representations are not true.

         13.   Section 8.01(a) requires Defendant to indemnify Lima One for, among other

things, losses, damages, costs and expenses, and attorneys’ fees, associated with any failure of

Defendant to perform under the Agreement and any other breach of the Defendant’s obligations

under the Agreement.

         14.   Section 8.02 of the Agreement requires Defendant to purchase Closed Loans from

Lima One if Defendant breaches Section 4.07 of the Agreement.




                                                  3
     6:19-cv-03547-DCC                Date Filed 12/20/19            Entry Number 1             Page 4 of 7




         15.      Section 8.02 of the Agreement requires Defendant to repurchase these loans

within ten days following Lima One’s delivery of a written purchase demand to Defendant

including an explanation of the breach.

         16.      After closing six loans, identified below, Lima One identified fraudulently

inflated appraisal documents submitted in support of those applications and the underwriting of

those files. On information and belief, the loan originator, an employee of the Defendant at the

time, actively participated in the submission of these fraudulently inflated documents. Without

these fraudulently inflated appraisals, Lima One would not have originated the loans.

         17.      On information and belief, this loan originator either actively committed the

fraud through the creation of the fraudulently altered documents, or actively assisted in the

commission of this fraudulent act through knowing involvement.

         18.      The loans that contained fraudulently inflated appraisal documents in support of

the application were the following: loan no. xxx059; loan no. xxx861; loan no. xxx681; loan no.

xxx300; loan no. xxx094; loan no. xxx086. 1 As of September 30, 2019, the repurchase price of

these six loans, pursuant to the formula required by the Agreement, was $1,241,914.58.

         19.      On November 1, 2019, Lima One send Defendant a written purchase demand

(“Letter”) explaining the breach of contract.

         20.      The Letter identified the payments Lima One demands for purchase of the loans

subject to the formula set forth in Section 8.02.




1
  Out of an abundance of caution, and to ensure compliance with Fed. R. Civ. P. 5.2, Lima One is omitting the first
three digits of the loan numbers. Defendant has received these loan numbers in full in the November 1, 2019 letter
referenced in paragraph 18.

                                                         4
    6:19-cv-03547-DCC           Date Filed 12/20/19        Entry Number 1         Page 5 of 7




         21.   As of filing of this complaint, Defendant has failed to respond to the November 1

letter. Instead, Defendant sent a separate letter to Lima One invoking a termination clause in the

Agreement, effective May 4, 2020.

         22.   As of filing this complaint, Defendant has refused to repurchase these loans.

                                             COUNT ONE
                                          (Breach of Contract)

         23.   Plaintiff repeats and re-alleges each and every allegation contained m the

preceding paragraphs of this Complaint, and incorporates them by reference herein.

         24.   The Agreement is a valid and enforceable contract between Defendant and Lima

One.

         25.   During the Agreement term, Lima One upheld its end of the Agreement by

financing all loans meeting the Eligible Loan criteria.

         26.   As further set out above, the Agreement contains clauses requiring Defendant to

repurchase Closed Loans if Defendant breached Section 4.07.

         27.   Defendant breached the express terms of 4.07 because its loan originator

committed fraud in the origination of the loans, or actively assisted in the commission of fraud

on these loans, including the falsification of key documents used in the underwriting of these

loans.

         28.   As a result of the Defendant’s breach of the Agreement, Lima One has suffered, is

suffering, and will continue to suffer financial harm and has lost the benefits expected to be

received from the contract if Defendant had performed as promised, including actual damages,

lost profits, loss of business opportunities, and other consequential damages,

         29.   Defendant has acted intentionally, willfully, maliciously, and with reckless

disregard of the rights of Lima One.

                                                 5
    6:19-cv-03547-DCC            Date Filed 12/20/19        Entry Number 1        Page 6 of 7




       30.     Lima One therefore requests judgment in its favor for the Defendant’s breach of

contract, and requests specific performance, damages, attorneys’ fees, costs of this action, pre-

judgment interest on the amount demanded from November 1, 2019 to the date of judgment,

other interest as applicable, and such other relief as this court deems just.

                                     PRAYER FOR RELIEF

       THEREFORE, Plaintiff Lima One requests for judgment as follows:

       1.      Specific performance of Section 8.02 of the Agreement requiring Defendant to

repurchase these loans subject to the formula set forth in Section 8.02, in the amount of

$1,241,914.58;

       2.      An award of damages and any additional funds consistent with the Agreement,

including but not limited to relief under Section 8.01;

       3.      An award in Lima One’s favor to recover the costs of this lawsuit, including

attorneys’ fees;

       4.      An order requiring the recovery of pre-judgment interest under S.C. Code 34-31-

20(A), and post-judgment interest under S.C. Code 34-31-20(B), on the sums awarded; and

       5.      Any other relief as this Court deems just, appropriate, and equitable.


                                 DEMAND FOR JURY TRIAL

       Lima One demands a trial by jury on all issues.



[signature on following page]




                                                  6
    6:19-cv-03547-DCC        Date Filed 12/20/19    Entry Number 1      Page 7 of 7




                                        Respectfully submitted,

                                        WESLEY D. FEW, LLC

                                        /s/ Wesley Few
                                        Wesley D. Few, S.C. Fed. Id. No 07371
                                        P.O. Box 9398
                                        Greenville, SC 29604
                                        Tel: (864) 527-5906 | wes@wesleyfew.com

                                        -and-

                                        WEINER BRODSKY KIDER, PC

                                        Jason W. McElroy
                                        1300 19th Street NW 5th Floor
                                        Washington DC 20036
                                        office: 202 628 2000
                                        direct: 202 728 4463
                                        mcelroy@thewbkfirm.com

                                        (to be admitted pro hac vice)

                                        COUNSEL FOR PLAINTIFF LIMA ONE
                                        CAPITAL, LLC

December 20, 2019
Greenville, South Carolina




                                           7
